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                       In the United States District Court
                            for the District of Kansas



United States of America,
              Plaintiff,

v.                                               Case No. 20-40090-DDC

Shawn Lynn Parcells,
            Defendant.


                 Reply re: Victim Participation at Sentencing


     Shawn Lynn Parcells, through undersigned counsel, provides the following

response to the government’s motion to allow victim participation at sentencing

via video or telephone conferencing.

     Mr. Parcells does not oppose victims being able to enforce their rights under

the CVRA. The victims should be permitted to be physically present at

sentencing and make statements to the court as the government has suggested.

Victims also often provide written victim impact statements for the Court to

consider at sentencing. But the government points to no authority that the

CVRA creates a right for victims to make statements at sentencing via video or

telephone conferencing. If the Court does permit such a method, Mr. Parcells

argues those comments must be limited to their rights under the CVRA and

should be restricted to victim impact statements and should not be used for any

other purpose.
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      Mr. Parcells concurs with the government that Federal Rule of Criminal

Procedure Rule 32 governs sentencing practice. Under Rule 32, any witness who

provides evidence related to pending objections must comply with Federal Rule

of Criminal Procedure Rule 26.2(a)-(d) and (f). 1 Rule 26.2(a) requires that the

government must provide, upon request by the defendant, “any statement of the

witness that is in their possession and that relates to the subject matter of the

witness’s testimony” for any witness who testifies on direct examination.

Subsection (d) of the rule allows the Court to “recess the proceedings to allow

time for a party to examine the statement and prepare for its use.” Under this

rule, Mr. Parcells has a right to cross examine any witness who testifies

regarding pending objections and he would strongly object as a denial of his due

process rights any testimony by a victim via video or teleconference for purposes

of presenting evidence related to a pending objection.

      Finally, the Court must use a reliable method to determine contested issues

at sentencing. 2 Use of such a method is essential to ensure Mr. Parcells due

process rights are protected. 3 Allowing a victim to testify at sentencing to

contested issues beyond victim impact statements would damage that right as

the usual protections that are in place in a courtroom setting do not exist via

teleconference or video.




1   Federal Rule of Criminal Procedure 32(i)(2).
2   United States v. Ortiz, 993 F.2d 204 (10th Cir. 1993).
3   Id.

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      Mr. Parcells respectfully requests the Court deny the government’s

request.



                                      Respectfully submitted,

                                      s/ David Magariel
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                          CERTIFICATE OF SERVICE


       I hereby certify that on August 30, 2022, I filed the foregoing motion with
the clerk of the court by using the CM/ECF system, which will send a notice of
electronic filing to all interested parties.


                                      s/ David Magariel
                                      David Magariel, #21748




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